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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 MANDY GRIFFIN                                                   CIVIL ACTION

 VERSUS                                                          NO. 21-744

 WESTERN AND SOUTHERN                                            SECTION M (4)
 FINANCIAL GROUP, INC.


                                            ORDER

       Considering the parties’ joint motion to stay pending arbitration (R. Doc. 10),

       IT IS ORDERED that the motion to stay is GRANTED and this matter is STAYED and

ADMINISTRATIVELY CLOSED pending arbitration. At the conclusion of the arbitration, either

party may move to reopen this case.

       New Orleans, Louisiana, this 2nd day of November, 2021.




                                                    ________________________________
                                                    BARRY W. ASHE
                                                    UNITED STATES DISTRICT JUDGE
